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05 JUL 28 AHH: 56

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HWUIRRE CRUZ, Individually )

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WERREMBB¢eased; MARIA LUZ ) Cf-’§H-"»L ll %`. § jet comm
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Next of Kin to MAXIMINO AGUIRRE, )

Deceased and on behalf of MARITZA )
AGUIRRE VENEGAS, a minor; and )
AURELIANO vALr)Es BLAs, ) 0 @')( 0 g
Individually, ) » , - -~' ' ' ~ ~- - ‘
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Plainciffs, ) DISTB`;C: j "
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VS. ) ij_'~'¢*,d{
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FoRD MoToR coMPANY ) a '
)
Defendant. ) CASE NO. 2:04-cv-2389-MI/P

CONSENT MOTION TO AMEND THE SCHEDULING ORDER

***********

COMES NOW, the Plaintiffs and Defendant, Ford Motor Company, jointly and hereby
move this Court to modify and amend the Court’s Scheduling Order, only as it relates to the
timing of the production of expert reports.

The parties have consulted with regard to this modification, believe it is appropriate, and
believe that all other deadlines contained in this Court’s Scheduling Order can be met even With
the extension of the expert deadline.

Currently the experts’ reports for Plaintiffs are due to be produced on August 5, 2005 ,
and Defenda.nt’s reports on September 30, 2005. The parties have consented to and agreed to
extend the Plaintiffs’ production of expert reports until Friday, September 2, 2005 and

Defendant’s expert reports until October 31, 2005.

Thle document entered on the docket sheet in compliance 1

with Rule 58 and/or 79(3) FP.CP on d 1195

 

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The parties hereby request this Court to issue an Order amending the current Scbeduling

Order to allow the extension for the production of Plaintiffs’ and Defendant’s expert reports

  

 

 

only.

Respectfully Submitted,
FOR THE DEFENDANT FOR THE PL
FORD MOTOR COMPANY:

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 33 in
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Honorable Jon McCalla
US DISTRICT COURT

